
*270ORDER ON MANDATE
PER CURIAM.
WHEREAS, the judgment of this court was entered on May 25, 1976 affirming the order of the Circuit Court of Dade County, Florida in the above styled cause; and
WHEREAS, on review of this court’s judgment, by certiorari, the Supreme Court of Florida by its opinion and judgment filed March 9, 1978 (356 So.2d 304) and mandate now lodged in this court, quashed this court’s judgment;
NOW, THEREFORE, It is Ordered that the judgment of this court filed May 25, 1976 is vacated and the said opinion and judgment of the Supreme Court of Florida is herewith made the opinion and judgment of this court, the order of the trial court appealed herein is reversed and the cause is remanded for further proceedings consistent with the opinion and judgment of the Supreme Court of Florida. Costs allowed shall be taxed in the trial court (Rule 3.16(b), Florida Appellate Rules).
